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                  UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                       NORTHERN DIVISION

BRIANNA BOE, et al.,                  )
                                      )
      Plaintiffs,                     )
                                      )
v.                                    )       Case No. 2:22-cv-184-LCB
                                      )
STEVE MARSHALL, et al.,               )
                                      )
      Defendants.                     )


                   EMERGENCY MOTION TO STAY
              DISSEMINATION OF SEALED FINAL REPORT

      Come now James Esseks, Carl Charles, and LaTisha Faulks, and move this

Court to stay the dissemination of the Sealed Final Report of Inquiry issued by the

three-judge panel on October 3, 2023 until the affected attorneys and other parties

have an opportunity to present to this Court arguments and authorities as to why the

Sealed Final Report should not be disseminated to all of the parties and counsel in

the underlying case, particularly to the Alabama Attorney General’s office. As

grounds in support of this motion, movants state as follows:

      1.    The three-judge panel’s Sealed Final Report of Inquiry contains

testimony and other evidence of privileged matter and other information protected

by the work product doctrine. Some of this testimony and evidence was gathered by

the panel under assurances that it would not be shared with the Alabama Attorney

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General’s office or other adverse parties. In fact, representatives of the attorney

general’s office were excluded from the hearings based upon an objection from

counsel for the movants.

      2.     This Court’s Order of October 4, 2023 (doc. 318) appears to direct that

the panel’s Sealed Final report will be shared with the Attorney General’s office and

other parties and counsel with interests directly adverse to the movants and other

parties to the panel’s inquiry.

      3.     Dissemination of the panel’s Sealed Final Report to the Attorney

General’s office and other parties would be contrary to the panel’s previous

assurances and would be damaging and injurious to the movants and other parties

involved in the inquiry.

      4.     Movants and others respectfully request that the panel’s Sealed Final

report not be disseminated to any counsel or parties until the movants have the

opportunity to submit argument and authorities to this Court as to why such

dissemination would be improper.

                                       /s/ Barry A. Ragsdale
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                         CERTIFICATE OF SERVICE

       I hereby certify that on October 4, 2023, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification
of such filing to counsel of record.


                                              /s Barry A. Ragsdale
                                              Of Counsel




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